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 1                                                                    The Honorable Thomas S. Zilly
 2
 3
 4
 5
 6
 7
 8                              UNITED STATES DISTRICT COURT

 9                            WESTERN DISTRICT OF WASHINGTON

10                                            AT SEATTLE
11
        STRIKE 3 HOLDINGS, LLC, a Delaware            Case No. 2:17-cv-01731-TSZ
12      corporation,
                                                      PLAINTIFF’S OPPOSITION TO
13                                       August,      DEFENDANT’S MOTION FOR A MORE
                                                      DEFINITE STATEMENT
14             v.
                                                      NOTE ON MOTION CALENDAR:
15                                                    August 10, 2018
        JOHN DOE, subscriber assigned IP
16      address 73.225.38.130,                        ORAL ARGUMENT REQUESTED

17                                   Defendant.

18

19 I.        INTRODUCTION

20           Plaintiff’s First Amended Complaint (“FAC”) (Dkt. # 43) readily complies with the

21 Court’s June 6 Order (Dkt. #36) detailing what should be included in an amended complaint.
22 The FAC includes numerous new and detailed allegations adequately addressing the Court’s
23 concerns regarding Plaintiff’s original complaint. Yet, in another dilatory tactic to avoid
24 litigating this case on the merits, Defendant filed a second Motion for a More Definite Statement.
25 Defendant’s Motion demonstrates a fundamental misunderstanding of black letter law regarding
26 civil procedure: a plaintiff is not required to prove its case in its complaint. Defendant’s Motion,
     however, asks the Court to require Plaintiff to do just that. In fact, what Defendant’s Motion

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 1 really seeks to do is conduct discovery during and through the pleadings by forcing even more
 2 detailed allegations far above what is required under well-settled pleading standards.
 3           Moreover, much of Defendant’s Motion challenges the credibility and reliability of
 4 Plaintiff’s infringement investigation as a basis to demand even more detailed allegations in
 5 another amended complaint. Those challenges to the sufficiency of the evidence, however, are
 6 trial or dispositive motion arguments to be explored in discovery, they are not grounds to order
 7 Plaintiff file a second amended complaint answering all of Defendant’s various discovery
 8 questions and evidentiary arguments. Defendant’s Motion is inappropriate and the Court should

 9 deny it entirely and order Defendant answer the FAC so the parties can commence discovery and
10 litigate this case on the merits. Defendant knows full well the substance of the claims asserted
11 against him and the factual basis thereof. He can answer the FAC.
12           The FAC goes far beyond providing Defendant with sufficient notice of a plausible claim
13 for relief against him. In fact, it describes—in painstaking detail—the mechanics of the
14 BitTorrent Network, the software used by Plaintiff’s investigator to detect rampant infringement,
15 and the means by which Defendant’s IP address was identified and why it is very likely
16 Defendant was indeed using this address. Exhibit A to the FAC also provides the registration
17 numbers to every work Plaintiff’s investigator caught the IP address infringing and the time each
18 infringement occurred. Accordingly, the FAC far exceeds what the Court called upon Plaintiff to
19 do in its June 6 Order (Dkt. #36). For Defendant to still argue that he still does not have notice

20 of the substance of Plaintiff’s very straightforward copyright infringement claim against him is
21 disingenuous—Defendant is playing dumb as a litigation tactic (winning an Academy Award for
22 his performance). The Court should not allow it to continue because Defendant is not
23 questioning the FAC; rather, he is trying to conduct discovery under the guise of another Motion
24 for a More Definite Statement. The Motion should be denied.
25
26


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 1            II.      PROCEDURAL HISTORY
 2            Plaintiff filed a complaint for copyright infringement on November 16, 2017 (“Original
 3 Complaint”) (Dkt. # 1) and obtained an order granting its Motion for Leave to Serve a Third
 4 Party Subpoena on December 4, 2017. Dkt. # 5. Thereafter, Defendant appeared through
 5 counsel on February 12, 2018. Dkt. # 14. On March 8, 2018, Defendant filed his first motion to
 6 dismiss, abate, or for more definite statement (Dkt. # 21) which attached 21 exhibits and four
 7 supporting declarations combining for over 200 pages of mostly irrelevant material. 1 On May
 8 31, 2018, before the parties’ conference pursuant to Fed.R.Civ.P. 26(f) occurred, Defendant

 9 propounded 27 requests for production on Plaintiff and eight requests for admission.
10            In the Court’s June 6 order (“Order”) (Dkt. # 36), the Court denied Defendant’s Motion
11 to Dismiss or Abate the Original Complaint, but granted Defendant’s Motion for More Definite
12 Statement, holding in relevant part:
13            1)        “[P]laintiff does not plead that the files downloaded from [D]efendant’s IP
14                     address are or contain renderable, viewable versions of [P]laintiff’s copyrighted
15                     works or any portions thereof.”;
16            2)       “[T]he [Original Complaint] offers no detail concerning what software or
17                     hardware was used by [P]laintiff’s investigator to harvest pieces of the digital
18                     media files at issue”; and
19            3)       “[The Original Complaint] sets forth no facts tending to show [D]efendant was
20                     using the IP address at issue at the times listed in Exhibit A”.
21 Order at pp. 2-3 (emphasis original).
22            Plaintiff addressed and satisfied all of these issues with abundant factual detail in its
23 FAC, and Defendant cannot meet his high burden under Fed.R.Civ.P. 12(e) of demonstrating that
24 the FAC still remains “so vague or ambiguous” that he “cannot reasonably prepare a response.”
25   1
      Further illustrating Defendant’s improper procedural antics and complete disregard for judicial economy,
     Defendant filed frivolous and legally untenable counterclaims against Plaintiff on March 8, 2018 (Dkt. # 22),
26   voluntarily withdrew the claims after receiving Plaintiff’s motion to dismiss (Dkt. # 24), and then refiled additional
     counterclaims (equally frivolous as the original ones) against Plaintiff on May 1, 2018 (Dkt. # 32).

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 1 Plaintiff is well-aware of the claims against him, he is just using motion practice to conduct
 2 discovery. That effort must be rejected.
 3 III.      LEGAL STANDARD
 4           A motion for a more definite statement under Fed.R.Civ.P. Rule 12(e) attacks the
 5 intelligibility of the complaint, not the lack of detail, and is properly denied when the complaint
 6 notifies the defendant of the substance of the claims asserted. Presidio Grp., LLC v. GMAC
 7 Mortg., LLC, 2008 WL 3992765, at *1 (W.D. Wash. 2008) citing U.S. v. Sequel Contractors,
 8 Inc., 402 F. Supp. 2d 1142, 1147 (C.D. Cal. 2005). “Motions for more definite statement are

 9 viewed with disfavor, and are rarely granted.” C.B. v. Sonora Sch. Dist., 691 F. Supp. 2d 1170,
10 1191 (C.D. Cal. 2010) quoting W. Schwarzer, A. Wallace, and J. Wagstaff: Federal Civil
11 Procedure Before Trial § 9:351 (2000); Presidio Grp., 2008 WL 3992756 at 1. In particular,
12 “[i]f the detail sought by a motion for a more definite statement is obtainable through
13 discovery, the motion should be denied.” Neveu v. City of Fresno, 392 F. Supp. 2d 1159, 1169-
14 70 (E.D. Cal. 2005); Sneller v. City of Bainbridge Island, 2007 WL 4562882 at * 2 (W.D. Wash.
15 2007); Berry v. Hitachi Home Elec. (Am.), Inc., 157 F.R.D. 477, 480 (C.D. Cal. 1993). That is
16 precisely the case here. Defendant can obtain the detail he seeks via discovery, thus illustrating
17 he knows and understands the claims against him but is instead improperly trying to conduct
18 discovery via pleading motion practice.
19           A motion for a more definite statement under Fed.R.Civ.P. Rule 12(e) motion should not
20 be used to resolve merit issues, especially fact-sensitive matters which should be left for
21 summary judgment after full discovery. See One Indus., LLC v. Jim O’Neal Distrib. Inc., 578 F.
22 3d 1154, 1160 (9th Cir. 2009) (deciding a fact-intensive issue on a motion for more definite
23 statement is inappropriate and can deprive plaintiff of opportunity to prove its case through
24 discovery) (emphasis added); see also Jessup & Moore Paper Co. v. W. Va. Pulp & Paper Co.,
25 25 F. Supp. 598, 600 (D. Del. 1938) (“to construe Rule 12(e) so as to destroy the fundamental
26 distinction between pleading and proof has never been suggested or intimated by any


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 1 commentator”); Byers v. Olander, 7 F.R.D. 745, 746 (W.D. Pa. 1948) (“Rule 12(e) necessarily
 2 calls for constriction that opposes pleading evidence…”). Indeed, “[p]arties are expected to use
 3 discovery, not the pleadings, to learn the specifics of the claims being asserted.” Sagan v. Apple
 4 Computer, Inc., 874 F. Supp. 1072, 1077 (C.D. Cal. 1994). Accordingly, as held by a court in a
 5 similar case of alleged illegal downloading of copyrighted content, “[t]o require [plaintiff] prove
 6 that the subscriber more likely than not is the infringer [i.e., meet the ultimate burden of proof] at
 7 the pleading stage would turn the civil litigation process on its head.” Malibu Media, LLC v.
 8 Doe, 2014 WL 7188822, at *5 (D. Md. 2014). That is what Defendant is trying to do here

 9 through his serial motions. The Court should not allow it.
10 IV.       ARGUMENT
11
             A.     The FAC adequately pleads facts that, if true, constitute strong
12                  circumstantial evidence that the pieces of Plaintiff’s works Defendant
                    distributed can be assembled into renderable, viewable versions of the works.
13
             As directed by the Court, the FAC pleads that Plaintiff’s investigator downloaded from
14
     Defendant “one or more pieces of the digital media files containing Strike 3’s motion pictures
15
     listed on Exhibit A” and “the digital media files have been verified to contain a digital copy of
16
     [Plaintiff’s copyrighted works].” FAC at ¶¶ 32-33. The FAC further explains how these file
17
     pieces, although not playable portions of Plaintiff’s motion pictures themselves, constitute
18
     “digital fingerprints” and “forensic evidence of Defendant’s infringement” which can be
19
     assembled to form a viewable version of Plaintiff’s works. FAC at ¶¶ 37, 39. Plaintiff was
20
     unable to obtain a viewable portion of its works from Defendant because the BitTorrent protocol
21
     requires a user to exchange data to obtain an upload. FAC at ¶ 42, 43. In other words, Plaintiff
22
     would be required to infringe its own works and transmit to Defendant through the BitTorrent
23
     network viewable versions of Plaintiff’s movies to receive some of the viewable content
24
     Defendant unlawfully downloaded. Id. Plaintiff need not become Defendant’s co-conspirator to
25
     gather sufficient evidence of Defendant’s unlawful behavior. See Bleiberg Entm’t, LLC v. John
26
     and Jane Does 1-47, 2013 WL 3786641, at *6 (D. Ariz. 2013) (finding conspiracy of BitTorrent

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 1 users to infringe copyrighted works “may be established by circumstantial evidence through the
 2 nature of the acts, the relationship of the parties, the interests of the conspirators, or other
 3 circumstances.”); Data East USA, Inc. v. Epyx, Inc., 862 F. 2d 204, 206 (9th Cir. 1988)
 4 (acknowledging direct evidence of copying is seldom found and copying may be established
 5 instead by circumstantial evidence); U.S. v. Nelson, 419 F. 2d 1237, 1240 (9th Cir. 1969)
 6 (holding circumstantial evidence can be used to “prove any fact, including a fact from which
 7 another fact is to be inferred”).
 8              Plaintiff has pled adequate circumstantial evidence that indicates the file pieces
 9 Defendant downloaded from the BitTorrent Network, when assembled together, constitute
10 viewable portions of Plaintiff’s copyrighted works. FAC at ¶¶ 24-43. Plaintiff explained in
11 great detail how the BitTorrent Network is routinely used to illegally download and distribute
12 copyrighted content. FAC at ¶¶ 18-23. Plaintiff also illustrated how IPP International U.G.
13 (“IPP”) —Plaintiff’s investigator, the credentials and credibility of who are not up for debate at
14 the pleading stage—used specialized software to enter a swarm of BitTorrent users distributing
15 copyrighted content and established contact with Defendant’s IP address. FAC at ¶¶ 24-28.
16 Plaintiff further explained how IPP observed Defendant’s infringement, logged it, and
17 downloaded one or more pieces of the digital media files containing Plaintiff’s works. FAC at ¶¶
18 31-33. It makes no rational sense why Defendant would download dozens of pieces of
19 Plaintiff’s works from May to December of 2017 if those pieces could not be assembled into a

20 readable format. One routine round of discovery in which Plaintiff can conduct a forensic
21 examination of Defendant’s computer(s) and/or access to Defendant’s BitTorrent account will
22 reveal Defendant is, or was, in possession of dozens of viewable copies of Plaintiff’s copyrighted
23 works and transmitted these works in willful disregard for Plaintiff’s rights. 2 FAC at ¶ 39.
24
     2
         Defendant constructs a straw man argument claiming Plaintiff “admits that it does not have evidence that Doe
25 downloaded complete copies of its works and that the pieces it has linked to Doe’s email address are not renderable,
     viewable versions of [P]laintiff’s copyrighted works or any portions thereof.” Motion at 5. To the contrary,
26 Plaintiff has ample circumstantial evidence that the pieces of Plaintiff’s works which Defendant downloaded,
     although not containing viewable content by themselves, can be assembled to create viewable copies of Plaintiff’s

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 1 Plaintiff should be permitted to engage in this discovery to confirm the veracity of its allegations,
 2 but at this stage of this action, all of Plaintiff’s factual allegations must be accepted as true.3
 3              The FAC pleads sufficient facts that when proved will demonstrate irrefutable evidence
 4 that the files downloaded from Defendant’s IP address can be assembled to display renderable,
 5 viewable versions of Plaintiff’s copyrighted works.
 6
                B.       The FAC provides sufficient detail concerning the software and hardware
 7                       that Plaintiff’s investigator used to obtain the pieces that Defendant
                         downloaded from Plaintiff’s digital media files.
 8
                In accordance with the Court’s June 6 Order, the FAC identifies and explains the
 9
     mechanics and tools by which IPP detected and recorded Defendant’s infringement. The
10
     specialized software IPP used is a proprietary BitTorrent client which enters the swarm of
11
     infringers in the BitTorrent Network and communicates with, and hence downloads from, users
12
     in the swarm. FAC at ¶ 26. Once IPP’s BitTorrent client enters the swarm, individual users
13
     unlawfully sharing Plaintiff’s copyrighted works connect to the client and send IPP pieces of
14
     Plaintiff’s works. FAC at ¶ 27. The infringing transactions are recorded via PCAP which are
15
     then stored on WORM tape drives and analyzed by TCPDump which is commonly used to
16
     accurately record network traffic. FAC at ¶¶ 28-30. The FAC also identifies the exact make and
17
     model of the hardware that IPP used to identify Defendant’s IP address and describes in great
18
     detail the PCAP analysis process. 4 FAC at ¶¶ 31-38.
19
     works. Moreover, Defendant also misunderstands the role of a PCAP which, as Plaintiff clearly illustrates, contains
20 just two hashes – one of which identifies Defendant’s IP address and the other identifies the individual piece that
     Defendant transmitted to IPP. FAC at ¶ 38. Accordingly, a PCAP only contains one individual piece and does not
21 contain the completed and viewable motion picture, but reassembling the pieces captured in various PCAPs can
     result in a fully playable digital movie. Motion at 6. This, in turn, renders Plaintiff’s allegation that “Defendant
22 downloaded, copied, and distributed a complete copy of Plaintiff’s Works” well-founded. Original Complaint at
     ¶ 27; FAC at ¶¶ 24, 39; see also Motion at 6.
23
     3
         See Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570, 589 (2007) (holding a court must treat all factual
24 allegations as true when evaluating the sufficiency of a complaint “even if doubtful in fact” and noting a
     heightened fact pleading of specifics is not required; just enough facts to state a claim to relief that is “plausible on
25 its face.”) (emphasis added) (citations omitted).
26   4
      The information the FAC provides is more than sufficient to withstand a motion for more definite statement.
     Revealing any additional data risks disclosing IPP’s sensitive propriety information and trade secrets, some of which

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 1              A “motion [for more definite statement] is not to be used as a substitute for discovery and
 2 deposition procedure… that is, it is improper to utilize the motion for a more definite statement
 3 for the purpose of eliciting evidentiary facts, or for that matter, any facts beyond those which are
 4 necessary to enable the movant to frame a responsive pleading.” Kuenzell v. U.S., 20 F.R.D. 96,
 5 98 (N.D. Cal. 1957). That is exactly what Defendant is attempting here. As if in a deposition,
 6 Defendant’s Motion peppers Plaintiff with questions that are evidentiary in nature, better suited
 7 for discovery, and seeks additional information about the means by which Defendant’s
 8 infringement was detected and documented. Plaintiff is not required to address these questions

 9 or any other inquiry Defendant may conjure up at the pleading stage. The validity of IPP’s
10 system is a disputed question of fact to be explored in discovery. 5
11              Defendant makes much ado over nothing regarding the fact that a handful of the hash
12 values logged in Exhibit A to the FAC deviated from some of the hashes in Exhibit A to the
13 Original Complaint. 6 Motion at p. 8. Defendant even goes so far as to introduce an entirely
14 improper six-page pseudo-expert report from Defendant’s counsel Kiren Rockenstein which
15 analyzes these discrepancies and curiously concludes they are somehow evidence of a false-
16 positive rate to IPP’s software of 10-17%.7 Declaration of Kiren Rockenstein (“Rockenstein
17 Decl.”) ¶¶ 9, 11; Motion at 8.
18
     Plaintiff may produce in discovery pursuant to an appropriate protective order but certainly not in a pleading
     accessible to the public.
19
     5
         The materials Defendant seeks in its Motion (i.e., “a systems diagram, user manuals, user guides, or anything else
20 that would allow someone to assess the validity of the infringement detection system”) constitute evidence which
     can be used to demonstrate and/or undermine the validity of IPP’s system. Motion at p. 7. Defendant is thus using a
21 motion for more definite statement to elicit evidentiary facts, which is clearly prohibited by Kuenzell and its
     progeny.
22
     6   Importantly, Defendant’s comparisons between Plaintiff’s Original Complaint and FAC are irrelevant because
23 “[t]he filing of an amended complaint supersedes the original complaint and renders it without legal affect.” Block v.
     Washington State Bar Ass'n, No. C15-2018RSM, 2016 WL 7716072, at *1 (W.D. Wash. Feb. 24, 2016).
24
25   7
       Rockenstein’s declaration opines as to the reliability of IPP’s software and, accordingly, constitutes impermissible
     attorney-expert testimony which should be struck pursuant to the Washington Rules of Professional Conduct
26   (“RPC”) Rule 3.7 prohibiting lawyers from acting as advocates in a case in which the lawyer is likely to be a
     necessary witness. BP West Coast Prod., LLC v. Shalabi, 2013 WL 1694660 at *2 (W.D. Wash. 2013).

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 1           Defendant's infringement was especially pervasive and included unauthorized
 2 distribution of multiple different copies of the same copyrighted work. The law only allows
 3 Plaintiff to assert a single claim for each unique work infringed, and the fact that Plaintiff elected
 4 to assert a claim on one pirated version in its initial Complaint and then on another in its FAC
 5 has no consequence except to illustrate the breadth of Defendant's infringement. The works
 6 which Defendant infringed via multiple pirated copies are:
 7
     Anal On My
 8   Sisters                                                                      9/24/2017
     Wedding Day 5F25F5C8970A1123950D8543F0C954308ECC9D12                          16:04:53 Amended
 9   Anal On My
     Sisters                                                                      9/25/2017
10
     Wedding Day F4A9F0567219CB991D41B5AD34DCA1CB04591497                          11:19:11 Original
11
     Drunk Dial                                                                   5/15/2017
12   Aftermath       1278F4C4BF0B45678418F6CC8F8844DE4AB68C83                       5:03:17 Amended
13   Drunk Dial                                                                   9/28/2017
     Aftermath       49F03BF24CE42C3AFFA968C9CFE37DB55B3B555E                      18:38:00 Original
14
     Giving Him
15   What He                                                                       6/1/2017
     Needs          337A87F18ACD71687C3733C359197601B44E39FF                        9:40:11 Original
16
     Giving Him
17   What He                                                                      5/31/2017
     Needs          E8910563DE2084C48C6A8C5801457339745A09FA                       11:21:03 Amended
18
19   He Loves My                                                                    9/1/2017
     Big Butt    64683F0353A903719B39E742A35B975B17849BF7                           13:56:38 Original
20   He Loves My                                                                    8/1/2017
     Big Butt    792198F0F41E1FFA44A67E62F451EC11B9B692EF                            8:35:59 Amended
21
22   Model                                                                         7/5/2017
     Misbehaviour 3F3D4931127C380DD0AA05C298E26438267560BB                          4:23:31 Amended
23   Model                                                                       10/12/2017
     Misbehaviour 807F407D94E9D91A368B24C5EEA7DBA5FF438450                         19:03:36 Original
24
25   My Rise In
     The Ranks                                                                    6/20/2017
26   Part 2     18A6F7D0E24D4FA3CC1589DE496D1AD9433CF09B                            1:03:31 Amended


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 1   My Rise In
     The Ranks                                                                  6/24/2017
 2   Part 2     CB9ABC2B058CADE2FA7C0BD6A20558DC0E46EB0D                          0:42:22 Original

 3   Taking                                                                      7/5/2017
     Charge         0CAB7415EAE003A2C3835DE5FC716759A49040B9                     19:58:23 Amended
 4
     Taking                                                                     9/29/2017
 5   Charge         F77021A22716CC4E2F1154DBDF60A3891FF84DE1                     10:33:06 Original

 6            Defendant notes additional works are included in the FAC which were not present in the

 7 initially filed action. These infringements were committed by Defendant after the initial lawsuit
 8 and associated exhibits were drafted. Plaintiff could not foretell which future titles Defendant

 9 would infringe when drafting its Original Complaint. These works are:
10   I Could Not                                           11/10/2017
11   Wait Anymore F28E401CBB99CFB32E0808B7662BC50A9C5F64AD    0:59:33 Amended

12   I Have Waited
     All Week For                                                               11/22/2017
13   This          94E00EDACF46F8763B4B28A29BEB83473AC2BA8E                       11:18:15 Amended
14
     Loaned By                                                                   11/13/2017
15   Daddy            DCE0631B0833B899B8A4C577203A87AD00BD2B8B                      1:30:20 Amended
16
     My Boyfriend
17   Wants Me To                                                                  11/7/2017
     Do It        DB6040CB19308F376554AC18F5C883139311322D                          1:43:58 Amended
18
     My Dirty                                                                      12/1/2017
19
     Pastime          C6965A70345AC1C86DD34737BF381734CA301655                      12:28:34 Amended
20
     OK Maybe
21   One More                                                                     11/2/2017
     Time             C59734C1DC4D87F563ABE2D6E371C12FD12FC7D9                      9:05:02 Amended
22
23   Passionate Sex                                                              11/30/2017
     With My Rival ABC004062B9F9CF37E9A3A57F4BEA161154EECAE                        20:59:54 Amended
24
25   Sex With My
     Moms Boy                                                                     11/9/2017
26   Toy              8519F3BB18D38EB8472CD07987B1BC2224E7EC22                      8:28:23 Amended


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 1              One Work, titled “Sex To Get Ahead”, was present in the Original Complaint but is not
 2 present in the FAC. The claim for this Work was removed due to extended delays within the US
 3 Copyright Office which prevented confirmation of copyright final registration.
 4              Several works in the initial complaint originally were registered but not yet
 5 finalized. The information displayed on the original Exhibit A was the expected registration date
 6 and Registration ID# in Plaintiff's possession at the time of the drafting of the Original
 7 Complaint. These were all finalized and assigned official registration dates and PA numbers by
 8 the time the Amended Exhibit A was drafted, and the Amended Exhibit A reflects what is

 9 currently displayed on the US Copyright Office website. All registrations were done within 90
10 days of first publication as evidenced by the Amended Exhibit A.
11              C.       The FAC pleads sufficient facts demonstrating Defendant was using his IP
12                       address at the times listed in Exhibit A to the FAC.
                The FAC pleads facts that, when accepted as true, indicate it is not only plausible but
13
     rather highly likely that Defendant was the one using his IP address to infringe Plaintiff’s works.
14
     IPP made direct contact with Defendant’s IP address and observed it downloading and
15
     transmitting pieces of Plaintiff’s works over eighty times throughout an approximate six-month
16
     period (May through November 2017). FAC at ¶ 50. Accordingly, this means the infringer must
17
     have been someone with consistent long-term access to the IP address, i.e., the Defendant
18
     himself or a resident in his home as opposed to a transient house guest, visitor, or passerby. 8 Id.
19
     Moreover, the infringement suddenly stopped after Defendant received notice of this action in or
20
     around December of 2017, again indicating Plaintiff sued the right person. That there was
21
     continued infringement in November of 2017 and on December 1, 2017 after this action was
22
23
     8
         This fact largely eliminates the concern articulated in AF Holdings LLC v. Rogers, 2013 WL 358292 at *2 (S.D.
24 Cal. 2013) which found a lone allegation linking the infringing IP address to Defendant insufficient because visitors,
     neighbors or a passerby could access it. Motion at p. 9. This concern is amplified if the network is unsecured –
25 which does not appear to be the case here. The Motion seems to suggest Defendant’s network is password
     protected. See Motion at 9, lns 7-10. Finally, AF Holdings was a case where there was just one alleged instance of
26 infringement, which renders it inapposite here where the facts document longstanding and rampant infringement.
     AF Holdings LLC, supra at *1.

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 1 filed is of no moment as the Defendant could not have obtained notice of this case until after the
 2 Court granted Plaintiff’s ex parte application to serve a third party subpoena to locate Defendant,
 3 Plaintiff served the subpoena and his internet provider notified him of the subpoena. After such
 4 notification, it appears that Defendant obtained Mr. Edmondson as his counsel.
 5              Plaintiff’s ignorance of Defendant’s identity at the time it filed its Amended Complaint
 6 made it impossible to allege additional facts establishing Defendant’s use of his IP address. FAC
 7 at ¶ 49. If Plaintiff had known Defendant’s identity, it could have better investigated his online
 8 footprint and utilized discovery to uncover evidence that confirms his culpability. Plaintiff

 9 cannot be expected to provide such evidence when Defendant’s identity was unknown to it. See
10 Bleiberg Entm’t, LLC, supra at *6 (holding complaint stated sufficient facts to believe it is
11 “plausible” the subscriber to the IP address participated in the infringement and finding “it is not
12 clear to this Court how Plaintiff can discover [whether the defendant was actually using the IP
13 address] without [engaging in discovery]”).9
14 V.           CONCLUSION
15              The FAC provides more than enough factual detail and explanation to afford Defendant
16 fair notice of Plaintiff’s straightforward copyright infringement claim against him and the
17 grounds upon which it rests. Defendant’s motion does not say “what am I being sued for?,”
18 rather, it says “give me more facts about your claims.” There is a name for such a request:
19 “discovery.” For all the reasons outlined above, Defendant’s Motion is completely meritless and

20 the Court should deny it.
21 //
22 //
23 //
24 //
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     9
         Since the filing of the Amended Complaint, Defendant’s counsel has provided Plaintiff’s counsel with Defendant’s
26 first and last name only. No address or any other identifying information was provided. Plaintiff is continuing its
     investigation in light of this information but without an address, it is of limited investigatory value.

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 1           DATED this 6th day of August, 2018.
 2
                                               FOX ROTHSCHILD LLP
 3
 4                                              s/ Bryan J. Case
                                               Bryan J. Case, WSBA #41781
 5                                             Lincoln Bandlow, admitted Pro Hac Vice (CSBA
                                               #170449)
 6                                             Attorneys for Plaintiff
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 1                                    CERTIFICATE OF SERVICE
 2
             I hereby certify that on August 6, 2018, I electronically filed the foregoing with the Clerk
 3
     of the Court using the CM/ECF system which will send notification of such filing to the
 4
     following persons:
 5
 6            J. Curtis Edmondson, WSBA #43795                          Via CM/ECF
              399 NE John Olsen Avenue                                  Via U.S. Mail
 7            Hillsboro, Oregon 97124                                   Via Messenger Delivery
 8            Telephone: (503) 336-3749                                 Via Overnight Courier
              Email: jcedmondson@edmolaw.com                            Via Facsimile
 9
10
             DATED this 6th day of August, 2018.
11
12
                                                   Melinda R. Sullivan
13                                                 Legal Administrative Assistant

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